      Case 3:18-cv-02674-L-NLS Document 1 Filed 11/26/18 PageID.13 Page 1 of 12


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 7

 8
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 9

10
                              UNITED STATES DISTRICT COURT
11
                             SOUTHERN DISTRICT OF CALIFORNIA
12

13
     JAMES RUTHERFORD, an                     Case No.     '18CV2674 L      NLS
14   individual,                              Complaint For Damages And
15                                            Injunctive Relief For:
                Plaintiff,
16
     v.                                       1. VIOLATIONS OF THE
17                                               AMERICANS WITH DISABILITIES
18                                               ACT OF 1990, 42 U.S.C. §12181 et
     PORTERS’ EL JARDIN, INC., a                 seq.
19   California corporation; and DOES 1-
20   10, inclusive,                           2. VIOLATIONS OF THE UNRUH
                                                 CIVIL RIGHTS ACT, CALIFORNIA
21                                               CIVIL CODE § 51 et seq.
                     Defendants.
22

23

24         Plaintiff, JAMES RUTHERFORD (“Plaintiff”), complains of Defendants

25   PORTERS’ EL JARDIN, INC., a California corporation; and DOES 1-10

26   (“Defendants”) and alleges as follows:

27                                        PARTIES:

28         1.    Plaintiff is an adult California resident. Plaintiff is substantially limited

                                               1
                                          COMPLAINT
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 1   in performing one or more major life activities, including but not limited to:
 2
     walking, standing, ambulating, sitting, in addition to twisting, turning, and grasping
 3
     objects. As a result of these disabilities, Plaintiff relies upon mobility devices,
 4

 5   including at times a wheelchair, to ambulate. With such disabilities, Plaintiff

 6   qualifies as a member of a protected class under the Americans with Disabilities Act
 7   (“ADA”), 42 U.S.C. §12102(2) and the regulations implementing the ADA set forth
 8
     at 28 C.F.R. §§ 36.101 et seq. At the time of Plaintiff’s visits to Defendant’s facility
 9
     and prior to instituting this action, Plaintiff suffered from a “qualified disability”
10

11   under the ADA, including those set forth in this paragraph. Plaintiff is also the

12   holder of a Disabled Person Parking Placard.
13         2.     Plaintiff brings this action acting as a “private attorney general” as
14   permitted under the American with Disabilities Act of 1990 (“ADA”) to privatize
15   enforcement of the ADA without the American tax payer(s) bearing the financial tax
16   burden for such action.
17         3.     Defendant owned the property located at 1581 S. Mission Road,
18   Fallbrook, CA 92028 (“Property”) in August, 2018.
19         4.     Defendant owns the Property currently.
20         5.     Defendant owned, operated and controlled the business of El Jardin
21   Mexican Restaurant ("Business”) in August, 2018.
22         6.     Defendant owns, operates and controls the Business currently.
23         7.     Plaintiff does not know the true names of Defendants, their business
24   capacities, their ownership connection to the Property and Business, or their relative
25   responsibilities in causing the access violations herein complained of, and alleges a
26   joint venture and common enterprise by all such Defendants. Plaintiff is informed
27   and believes that each of the Defendants herein, including Does 1 through 10,
28   inclusive, is responsible in some capacity for the events herein alleged, or is a
                                                 2
                                            COMPLAINT
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 1   necessary party for obtaining appropriate relief. Plaintiff will seek leave to amend
 2   when the true names, capacities, connections, and responsibilities of the Defendants
 3   and Does 1 through 10, inclusive, are ascertained.
 4                               JURISDICTION AND VENUE
 5          8.     This Court has subject matter jurisdiction over this action pursuant
 6   to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans
 7   with Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. ("ADA").
 8          9.     This court has supplemental jurisdiction over Plaintiff’s non-federal
 9   claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s UCRA claims are so
10   related to Plaintiff’s federal ADA claims in that they have the same nucleus of
11   operative facts and arising out of the same transactions, they form part of the same
12   case or controversy under Article III of the United States Constitution.
13          10.    Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
14   Property which is the subject of this action is located in this district and because
15   Plaintiff’s causes of action arose in this district.
16                                FACTUAL ALLEGATIONS
17          11.    Plaintiff went to the Business in August, 2018 to purchase a meal.
18          12.    The Business, including the Property, is a facility open to the public, a
19   place of public accommodation, and a business establishment.
20          13.    Parking spaces are some of the facilities, privileges and advantages
21   reserved by Defendants to persons patronizing the Business and Property.
22          14.    Unfortunately, although parking spaces were some of the facilities
23   reserved for patrons, there were barriers for persons with disabilities that cause the
24   named facilities to fail as to compliance with the Americans with Disability Act
25   Accessibility Guidelines (“ADAAG”) in August, 2018, or at any time thereafter up
26   to and including, the date of the filing of this complaint.
27          15.    Instead of having architectural barrier free facilities for patrons with
28   disabilities, Plaintiff experienced the following at the Business and Property: the
                                                  3
                                             COMPLAINT
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 1   accessible parking spaces are not located on the shortest accessible route to the
 2   entrance per Section 208.3.1. Parking spaces complying with 502 that serve a
 3   particular building or facility shall be located on the shortest accessible route from
 4   parking to an entrance complying with 206.4. Here, the accessible parking spaces are
 5   clustered together at the back of the restaurant; the accessible parking space and
 6   access aisle at the rear of the building have slopes and cross slopes of over 5% and
 7   8.9% where 502.4 prohibits a slope over 2%; there is no rear grab bar at the water
 8   closet. Grab bars shall be provided on the side wall closest to the water closet and on
 9   the rear wall per Section 604.5 Also, grab bars for water closets shall comply with
10   609; clearance around the water closet is less than 60 inches minimum measured
11   perpendicular from the side wall and 56 inches (1420 mm) minimum measured
12   perpendicular from the rear wall in violation of Section 604.3.1; the water supply
13   and drain pipes under the sink are not insulated or otherwise configured to protect
14   against contact as required by Section 606.5; the height of the urinal is
15   approximately 22 inches where 17 inches is the maximum per Section 605.2; the
16   door has an old style doorknob which requires tight grasping and turning. Handles,
17   pulls, latches, locks, and other operable parts on doors and gates shall comply with
18   309.4 per Section 404.2.7. People with arthritis in their fingers and hands have
19   difficulty using this type of doorknob; and, the sales counter does not provide for
20   accessibility as required by Section 904.4.1 for either a parallel or forward approach.
21         16.    Subject to the reservation of rights to assert further violations of law
22   after a site inspection found infra, Plaintiff asserts there are additional ADA
23   violations which affect him personally.
24         17.    Plaintiff is informed and believes and thereon alleges that, currently,
25   there are no compliant, accessible Business facilities designed, reserved and
26   available to persons with disabilities at the Business in addition to that alleged supra.
27         18.    Plaintiff is informed and believes and thereon alleges that Defendants
28   had no policy or plan in place to make sure that the parking spaces were compliant
                                                4
                                           COMPLAINT
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 1   for persons with disabilities and remained compliant prior to August, 2018. Plaintiff
 2   is informed and believes and thereon alleges Defendants have no policy or plan in
 3   place to make sure that the complaints of violations alleged above are available to
 4   persons with disabilities and remain compliant currently.
 5          19.      Plaintiff personally encountered the above alleged barriers when
 6   attempting to access the Business and Property.            These inaccessible conditions
 7   denied the Plaintiff full and equal access and caused him difficulty, humiliation,
 8   frustration and upset.
 9          20.      As an individual with a mobility disability who at times is dependent
10   upon a mobility device, Plaintiff has a keen interest in whether public
11   accommodations have architectural barriers that impede full accessibility to those
12   accommodations by individuals with mobility impairments.
13          21.      Plaintiff is being deterred from patronizing the Business and its
14   accommodations on particular occasions, but intends to return to the Business for the
15   dual purpose of availing himself of the goods and services offered to the public and
16   to ensure that the Business ceases evading its responsibilities under federal and state
17   law.
18          22.      As a result of his difficulty, humiliation, and frustration because of the
19   inaccessible condition of the facilities of the Business, Plaintiff did not fully access
20   the Business or Property. However, Plaintiff would like to return to the location
21   given its close proximity to an area he frequents from time to time.
22          23.      The defendants have failed to maintain in working and useable
23   conditions those features required to provide ready access to persons with
24   disabilities.
25          24.      The violations identified above are easily removed without much
26   difficulty or expense. They are the types of barriers identified by the Department of
27   Justice as presumably readily achievable to remove and, in fact, these barriers are
28   readily achievable to remove. Moreover, there are numerous alternative
                                                   5
                                              COMPLAINT
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 1   accommodations that could be made to provide a greater level of access if complete
 2   removal were not achievable.
 3         25.     Given the obvious and blatant violation alleged hereinabove, Plaintiff
 4   alleges, on information and belief, that there are other violations and barriers in the
 5   site that relate to his disabilities. Plaintiff will amend the complaint, to provide
 6   proper notice regarding the scope of this lawsuit, once he conducts a site inspection.
 7   However, please be on notice that Plaintiff seeks to have all barriers related to their
 8   disabilities remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding
 9   that once a plaintiff encounters one barrier at a site, he can sue to have all barriers
10   that relate to his disability removed regardless of whether he personally encountered
11   them).
12         26.     Given the obvious and blatant violation alleged hereinabove, Plaintiff
13   alleges, on information and belief, that the failure to remove these barriers was
14   intentional because: (1) these particular barriers are intuitive and obvious; (2) the
15   defendants exercised control and dominion over the conditions at this location, and
16   therefore, (3) the lack of accessible facilities was not an accident because had the
17   defendants intended any other configuration, they had the means and ability to make
18   the change.
19         27.     Without injunctive relief, plaintiff will continue to be unable to fully
20   access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
21                               FIRST CAUSE OF ACTION
22   VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
23                                  42 U.S.C. § 12181 et seq.
24         28.     Plaintiff re-alleges and incorporates by reference all paragraphs alleged
25   above and each and every other paragraph in this Complaint necessary or helpful to
26   state this cause of action as though fully set forth herein.
27         29.     Under the ADA, it is an act of discrimination to fail to ensure that the
28   privileges, advantages, accommodations, facilities, goods, and services of any place
                                                 6
                                            COMPLAINT
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 1   of public accommodation are offered on a full and equal basis by anyone who owns,
 2   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
 3   Discrimination is defined, inter alia, as follows:
 4                a.     A failure to make reasonable modifications in policies, practices,
 5                       or procedures, when such modifications are necessary to afford
 6                       goods, services, facilities, privileges, advantages, or
 7                       accommodations to individuals with disabilities, unless the
 8                       accommodation would work a fundamental alteration of those
 9                       services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
10                b.     A failure to remove architectural barriers where such removal is
11                       readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
12                       defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
13                       Appendix "D".
14                c.     A failure to make alterations in such a manner that, to the
15                       maximum extent feasible, the altered portions of the facility are
16                       readily accessible to and usable by individuals with disabilities,
17                       including individuals who use wheelchairs, or to ensure that, to
18                       the maximum extent feasible, the path of travel to the altered area
19                       and the bathrooms, telephones, and drinking fountains serving
20                       the area, are readily accessible to and usable by individuals with
21                       disabilities. 42 U.S.C. § 12183(a)(2).
22         30.    Any business that provides parking spaces must provide accessible
23   parking spaces. 1991 Standards § 4.1.2(5). 2010 Standards § 208. Under the 1991
24   Standards, parking spaces and access aisles must be level with surface slopes not
25   exceeding 1:50 (2.0%) in all directions. 1991 Standards § 4.6.2. Under the 2010
26   Standards, access aisles shall be at the same level as the parking spaces they serve.
27   Changes in level are not permitted. 2010 Standards § 502.4. "Access aisles are
28   required to be nearly level in all directions to provide a surface for wheelchair
                                                7
                                           COMPLAINT
      Case 3:18-cv-02674-L-NLS Document 1 Filed 11/26/18 PageID.20 Page 8 of 12


 1   transfer to and from vehicles." 2010 Standards § 502.4 Advisory. Specifically, built
 2   up curb ramps are not permitted to project into access aisles and parking spaces. Id.
 3   No more than a 1:48 slope is permitted. Standards § 502.4.
 4         31.    Here, the failure to ensure that accessible facilities were available and
 5   ready to be used by Plaintiff is a violation of law.
 6         32.    A public accommodation must maintain in operable working condition
 7   those features of its facilities and equipment that are required to be readily accessible
 8   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 9         33.    Given its location and options, Plaintiff will continue to desire to
10   patronize the Business but he has been and will continue to be discriminated against
11   due to lack of accessible facilities and, therefore, seek injunctive relief to remove the
12   barriers.
13                              SECOND CAUSE OF ACTION
14   VIOLATION OF THE UNRUH CIVIL RIGHTS ACT, CALIFORNIA CIVIL
15                                      CODE § 51 et seq.
16         34.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
17   above and each and every other paragraph in this Complaint necessary or helpful to
18   state this cause of action as though fully set forth herein.
19         35.    California Civil Code § 51 et seq. guarantees equal access for people
20   with disabilities to the accommodations, advantages, facilities, privileges, and
21   services of all business establishments of any kind whatsoever. Defendants are
22   systematically violating the UCRA, Civil Code § 51 et seq.
23         36.    Because Defendants violate Plaintiff’s rights under the ADA, they also
24   violated the Unruh Civil Rights Act and are liable for damages. (Civ. Code § 51(f),
25   52(a).) These violations are ongoing.
26         37.    Defendants’ actions constitute intentional discrimination against
27   Plaintiff on the basis of their individual disabilities, in violation of the UCRA, Civil
28   Code § 51 et seq. Plaintiff is informed and believes and thereon alleges Defendants
                                                 8
                                            COMPLAINT
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 1   have been previously put on actual notice that its premises are inaccessible to
 2   Plaintiff as above alleged. Despite this knowledge, Defendants maintain the
 3   Property and Business in an inaccessible form.
 4                                         PRAYER
 5   WHEREFORE, Plaintiff prays that this court award damages provide relief as
 6   follows:
 7         1.     A preliminary and permanent injunction enjoining Defendants from
 8   further violations of the ADA, 42 U.S.C. § 12181 et seq., and UCRA, Civil Code §
 9   51 et seq. with respect to its operation of the Business and Subject Property; Note:
10   Plaintiff is not invoking section 55 of the California Civil Code and is not
11   seeking injunctive relief under the Disable Persons Act at all.
12         2.     An award of actual damages and statutory damages of not less than
13   $4,000 per violation pursuant to § 52(a) of the California Civil Code and $4,000 for
14   each time he visits an establishment that contains architectural barriers that deny the
15   Plaintiff of full and equal enjoyment of the premises (Feezor v. Del Taco, Inc.
16   (2005) 431 F.Supp.2d 1088, 1091.)
17         3.     An additional award of $4,000.00 as deterrence damages for each
18   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
19   LEXIS 150740 (USDC Cal, E.D. 2016);
20         4.     For reasonable attorneys' fees, litigation expenses, and costs of suit,
21   pursuant to 42 U.S.C. § 12205; California Civil Code § 52;
22                               DEMAND FOR JURY TRIAL
23         Plaintiff hereby respectfully request a trial by jury on all appropriate issues
24   raised in this Complaint.
25

26   Dated: November 26, 2018               MANNING LAW, APC
27
28                                    By: /s/ Joseph R. Manning Jr., Esq.
                                         Joseph R. Manning Jr., Esq.
                                                9
                                           COMPLAINT
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 1                                  Michael J. Manning, Esq.
                                    Craig G. Côté, Esq.
 2                                  Attorneys for Plaintiff
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                                     COMPLAINT
JS 44 (Rev. 12/12)
                     Case 3:18-cv-02674-L-NLS Document 1 Filed 11/26/18 PageID.23 Page 11 of 12
                                                                            CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                              DEFENDANTS
JAMES RUTHERFORD, an individual,                                                                             PORTERS’ EL JARDIN, INC., a California corporation; and DOES
                                                                                                             1-10, inclusive,

    (b) County of Residence of First Listed Plaintiff             Riverside                                    County of Residence of First Listed Defendant                San Diego
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)

                                                                                                                                                '18CV2674 L                    NLS
Joseph R. Manning Jr., Esq. (State Bar No. 223381)
Manning Law Office, APC
4667 MacArthur Blvd., ste150, Newport Beach CA,Tel: 949-464-8529

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                            and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF           DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1           ’ 1       Incorporated or Principal Place      ’ 4      ’ 4
                                                                                                                                                             of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2        ’    2   Incorporated and Principal Place     ’ 5      ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                                 of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3        ’    3   Foreign Nation                       ’ 6      ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
           CONTRACT                                             TORTS                                    FORFEITURE/PENALTY                           BANKRUPTCY                     OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                 PERSONAL INJURY             ’ 625 Drug Related Seizure             ’ 422 Appeal 28 USC 158            ’   375 False Claims Act
’   120 Marine                       ’   310 Airplane                  ’ 365 Personal Injury -             of Property 21 USC 881           ’ 423 Withdrawal                   ’   400 State Reapportionment
’   130 Miller Act                   ’   315 Airplane Product                Product Liability       ’ 690 Other                                  28 USC 157                   ’   410 Antitrust
’   140 Negotiable Instrument                 Liability                ’ 367 Health Care/                                                                                      ’   430 Banks and Banking
’   150 Recovery of Overpayment      ’   320 Assault, Libel &                Pharmaceutical                                                   PROPERTY RIGHTS                  ’   450 Commerce
        & Enforcement of Judgment             Slander                        Personal Injury                                                ’ 820 Copyrights                   ’   460 Deportation
’   151 Medicare Act                 ’   330 Federal Employers’              Product Liability                                              ’ 830 Patent                       ’   470 Racketeer Influenced and
’   152 Recovery of Defaulted                 Liability                ’ 368 Asbestos Personal                                              ’ 840 Trademark                            Corrupt Organizations
        Student Loans                ’   340 Marine                          Injury Product                                                                                    ’   480 Consumer Credit
        (Excludes Veterans)          ’   345 Marine Product                  Liability                             LABOR                        SOCIAL SECURITY                ’   490 Cable/Sat TV
’   153 Recovery of Overpayment               Liability                 PERSONAL PROPERTY            ’   710 Fair Labor Standards           ’   861 HIA (1395ff)               ’   850 Securities/Commodities/
        of Veteran’s Benefits        ’   350 Motor Vehicle             ’ 370 Other Fraud                      Act                           ’   862 Black Lung (923)                   Exchange
’   160 Stockholders’ Suits          ’   355 Motor Vehicle             ’ 371 Truth in Lending        ’   720 Labor/Management               ’   863 DIWC/DIWW (405(g))         ’   890 Other Statutory Actions
’   190 Other Contract                       Product Liability         ’ 380 Other Personal                   Relations                     ’   864 SSID Title XVI             ’   891 Agricultural Acts
’   195 Contract Product Liability   ’   360 Other Personal                  Property Damage         ’   740 Railway Labor Act              ’   865 RSI (405(g))               ’   893 Environmental Matters
’   196 Franchise                            Injury                    ’ 385 Property Damage         ’   751 Family and Medical                                                ’   895 Freedom of Information
                                     ’   362 Personal Injury -               Product Liability                Leave Act                                                                Act
                                             Medical Malpractice                                     ’   790 Other Labor Litigation                                            ’   896 Arbitration
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’   791 Employee Retirement              FEDERAL TAX SUITS                ’   899 Administrative Procedure
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:                       Income Security Act            ’ 870 Taxes (U.S. Plaintiff                Act/Review or Appeal of
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                                                         or Defendant)                       Agency Decision
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                               ’ 871 IRS—Third Party              ’   950 Constitutionality of
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                               26 USC 7609                         State Statutes
’   245 Tort Product Liability               Accommodations           ’ 530 General
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION
                                             Employment                 Other:                       ’ 462 Naturalization Application
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from               ’ 6 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District                   Litigation
                                                                                                                                (specify)
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                          ACT OF 1990, 42 U.S.C. §12181 et seq., CIVIL CODE § 51 et seq.
VI. CAUSE OF ACTION Brief description of cause:
                                          Violations of Americans with Disabilities Act
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                  DEMAND $                                      CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                      JURY DEMAND:         ’ Yes     ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                                DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
11/26/2018                                                              /s/ Joseph R. Manning Jr.
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                              MAG. JUDGE

                 Print                               Save As...                                                                                                                      Reset
                  Case 3:18-cv-02674-L-NLS Document 1 Filed 11/26/18 PageID.24 Page 12 of 12
JS 44 Reverse (Rev. 12/12)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
         sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than
         one nature of suit, select the most definitive.

V.       Origin. Place an "X" in one of the six boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407.
         When this box is checked, do not check (5) above.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
